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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

 LRN CORPORATION,
                                                       No. 1:20-cv-08431-AJN-GWG
                Plaintiff,

        vs.                                            STIPULATION OF DISMISSAL
                                                       WITH PREJUDICE AS TO
 MARKEL INSURANCE COMPANY and                          DEFENDANT ARCH INSURANCE
 ARCH INSURANCE COMPANY,                               COMPANY ONLY AND
                                                       PROPOSED ORDER
                Defendants.


       Plaintiff LRN Corporation (“LRN”), by counsel, and Defendant Arch Insurance Company

(“Arch”), by counsel, hereby stipulate and agree that all matters herein between them have been

compromised, settled and memorialized in a confidential Settlement Agreement, and that LRN’s

cause of action against Arch only should be dismissed, with prejudice, with each party to bear its

own costs and attorneys’ fees.

                                                    Respectfully submitted,


                                                    REED SMITH LLP




                                                           ______________________
 Dated: September 15, 2021                          John N. Ellison
                                                    599 Lexington Avenue
                                                    New York, NY 10022
                                                    T: (212) 521-5400
                                                    jellison@reedsmith.com

                                                    David M. Halbreich
                                                    Margaret C. McDonald
                                                    355 South Grand Avenue
                                                    Suite 2900
                                                    Los Angeles, CA 90071
    Case 1:20-cv-08431-MKV-GWG Document 71 Filed 09/15/21 Page 2 of 4




                                         T: (213) 457-8000
                                         dhalbreich@reedsmith.com
                                         mcmcdonald@reedsmith.com

                                         Lisa A. Szymanski
                                         Three Logan Square
                                         1717 Arch Street, Suite 300
                                         Philadelphia, PA 19103
                                         T: (215) 851-8100
                                         lszymanski@reedsmith.com

                                         Counsel for Plaintiff LRN Corporation




                                                _____________________
Dated: September 15, 2021                Peter J. Scoolidge
                                         SCOOLIDGE PETERS RUSSOTTI
                                          & FOX, LLP
                                         2 Park Avenue, 19th Floor
                                         New York, NY 10016
                                         T: (212) 729-7708
                                         peter@sprfllp.com




                                         __________________________
                                         Michael R. Goodstein
                                         BAILEY CAVALIERI LLC
                                         10 W. Broad Street, Suite 2100
                                         Columbus, OH 43215
                                         T: (614) 229-3231
                                         mgoodstein@baileycav.com

                                         Counsel for Defendant Arch Insurance Co.




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                     PROPOSED ORDER APPROVING
   STIPULATION OF DISMISSAL WITH PREJUDICE AS TO DEFENDANT ARCH
                      INSURANCE COMPANY ONLY


DONE AND ORDERED in ________, New York, this ____day of _____, 2021.



                                            ___________________________________
                                            THE HONORABLE __________________

Copies furnished:
All counsel of record



SO ORDERED:




                               J.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this date, I caused the foregoing to be filed electronically using the

Court’s ECF System, which will send notification of such filing on all counsel of record:

 Michael Delhagen, Esq.                            Michael Goodstein, Esq.
 Jennifer Zaluski, Esq.                            Bailey Cavalieri LLC
 Tressler LLP                                      10 West Broad Street, Suite 2100
 One Penn Plaza, Suite 4701                        Columbus, OH 43215
 New York, New York 10119                          mgoodstein@baileycav.com
 mdelhagen@tresslerllp.com
 jzaluski@tresslerllp.com                          Peter Scoolidge, Esq.
                                                   Scoolidge, Peters, Russotti & Fox, LLP
 Daniel Formeller, Esq.                            2 Park Avenue - 19th Floor
 Tressler LLP                                      New York, NY 10016
 233 S. Wacker Dr.                                 peter@sprfllp.com
 61st Floor
 Chicago, IL 60606                                 Counsel for      Defendant     Arch    Insurance
 dformeller@tresslerllp.com                        Company

 Counsel for Defendant Markel Insurance
 Company



                                                      s/ John N. Ellison
 Dated: September 15, 2021                            John N. Ellison
                                                      Counsel for Plaintiff LRN Corporation




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